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    1 JONATHAN H. BLAVIN (State Bar No. 230269)
      jonathan.blavin@mto.com
    2 JOSHUA PATASHNIK (State Bar No. 295120)
      josh.patashnik@mto.com
    3 MUNGER, TOLLES & OLSON LLP
      560 Mission Street, 27th Floor
    4 San Francisco, California 94105-4000
      Telephone: (415) 512-4000
    5 Facsimile: (415) 512-4077
    6 JOSEPH W. COTCHETT (SBN 36324)
      jcotchett@cpmlegal.com
    7 ALEXANDRA P. SUMMER (SBN 266485)
      asummer@cpmlegal.com
    8 COTCHETT, PITRE & McCARTHY, LLP
      2716 Ocean Park Blvd., Suite 3088
    9 Santa Monica, CA 90405
      Telephone: (310) 392-2008
   10 Facsimile: (310) 392-0111
   11 Attorneys for Plaintiff Airbnb, Inc.
   12
                              UNITED STATES DISTRICT COURT
   13
                            CENTRAL DISTRICT OF CALIFORNIA
   14
                                     WESTERN DIVISION
   15
   16
      HOMEAWAY.COM, INC., and                     Case Nos. 2:16-cv-6641, 2:16-cv-6645
   17 AIRBNB, INC.,
   18               Plaintiffs,                   DECLARATION OF DAVID OWEN
                                                  IN SUPPORT OF PLAINTIFFS’
   19        vs.                                  AMENDED MOTION FOR
                                                  PRELIMINARY INJUNCTION
   20 CITY OF SANTA MONICA,
                                                  Hearing Date: February 26, 2018
   21               Defendant.                    Hearing Time: 1:30 p.m.
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    1                         DECLARATION OF DAVID OWEN
    2         I, David Owen, declare as follows:
    3        1.     I am Head of Policy Strategy for Airbnb, Inc. (“Airbnb”). I am over
    4 the age of 18 years and maintain an office at 888 Brannan Street, 4th Floor, San
    5 Francisco, CA 94103. I have personal knowledge of the matters set forth in this
    6 declaration, and if called as a witness, I could and would testify under oath as
    7 follows.
    8                        The Airbnb Platform and Santa Monica
    9        2.     Airbnb was founded in 2008. Airbnb provides an Internet platform and
   10 online marketplace through which third parties listing their accommodations
   11 (“hosts”) and third parties desiring to book accommodations (“guests”) can locate
   12 each other, communicate with each other, and enter into direct agreements to reserve
   13 and book travel accommodations on a short and long-term basis.
   14        3.     Airbnb’s Internet website, located at www.airbnb.com, provides a
   15 means by which interested parties can choose to list their accommodations, a means
   16 by which hosts and guests can locate and connect with each other, a means for them
   17 to communicate and message one another directly on the platform and determine the
   18 material terms for their bookings, and also enables the provision of payment
   19 processing services to permit hosts to receive payments electronically (similar to
   20 payment processing services for third-party transactions offered by websites such as
   21 eBay, StubHub, Amazon, and Etsy).
   22        4.     Airbnb does not charge hosts any upfront fees at the time they post
   23 their listings. In consideration for use of the platform services, including its
   24 publication services, Airbnb receives a service fee from the guest and the host,
   25 which is determined as a percentage of the accommodation fee set solely by the
   26 host. Not charging hosts an upfront fee for listing their rentals removes barriers to
   27 entry and makes it more likely for hosts to post their listings on Airbnb.
   28
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    1        5.     Airbnb has no possessory interest in any of the property or
    2 accommodations that third-party hosts may list on the Internet platform. Airbnb
    3 therefore is not a proprietor, owner or operator of any accommodation offered by
    4 hosts on the Internet platform. Airbnb does not manage, operate, lease or own
    5 hosts’ accommodations, and it is not a party to the direct agreements between guests
    6 and hosts for the booking of rentals offered by hosts.
    7        6.     A true and correct copy of Airbnb’s Terms of Service, available at
    8 https://www.airbnb.com/terms, is attached hereto as Exhibit A. All users of Airbnb
    9 must accept and consent to the Terms of Service in order to post listings on the site
   10 or to book reservations. As the Terms of Service state, Airbnb “does not own,
   11 create, sell, resell, provide, control, manage, offer, deliver, or supply any Listings or
   12 Host Services.”
   13        7.     Hosts, and not Airbnb, decide whether to list their properties and when
   14 to make them available on their calendars. Hosts also set their prices and material
   15 terms and decide with whom and when to transact. Airbnb has no control over the
   16 physical properties, does not have the right to book or resell or remarket any
   17 accommodations for any host, and does not set or otherwise determine the rental
   18 price of the accommodations or other terms like security deposits or cleaning fees.
   19        8.     Hosts create, and are responsible for, the content that is contained in
   20 each individual rental advertisement. As the Terms of Service (Exhibit A) state,
   21 hosts “alone are responsible for their Listings and Host Services.” Hosts provide the
   22 descriptions of their accommodations, set the length of stay of any particular rental,
   23 determine the prices and whether the entire property or a portion thereof is available
   24 for booking, and decide when and with whom they want to enter into agreements.
   25 Hosts also input the minimum and/or maximum days of stay for a particular rental.
   26 Airbnb does not control the content that is created by hosts and is not responsible for
   27 it. As a general matter, Airbnb does not review the hundreds of thousands of hosts’
   28 listings before the listings appear on Airbnb’s marketplace. Rather, the process for
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    1 listing properties is automated, and once the host provides listing information, the
    2 listing appears on the Airbnb marketplace almost immediately.
    3        9.      Airbnb advises hosts and guests to be aware of applicable local laws in
    4 listing properties and making reservations on the site. For example, the Terms of
    5 Service (Exhibit A) state that “Hosts alone are responsible for identifying,
    6 understanding, and complying with all laws, rules and regulations that apply to their
    7 Listings . . . .”
    8        10.     In addition, when hosts go through the process of creating listings in
    9 Santa Monica on Airbnb, they are cautioned to “familiarize [themselves] with [their]
   10 local laws” and informed that “[m]any places have rules covering homesharing, and
   11 the specific codes and ordinances can appear in different locations (such as zoning,
   12 building, licensing or tax codes).” They are also informed that “[m]any locales
   13 require registration, a permit or a license before properties can be listed or guests
   14 can be accepted” and that they “may also be responsible for collecting and remitting
   15 certain taxes.” A true and correct copy of this webpage displayed to hosts during
   16 the listing creation process is attached hereto as Exhibit B.
   17        11.     Airbnb also maintains a “Responsible Hosting” section on the Airbnb
   18 website. Airbnb provides a variety of general information for hosts about applicable
   19 laws and regulations that they should follow, including safety guidelines and
   20 property regulations. A true and correct copy of the “Responsible Hosting in the
   21 United States” webpage, available at
   22 https://www.airbnb.com/help/article/1376/responsible-hosting-in-the-united-states,
   23 is attached hereto as Exhibit C.
   24        12.     Airbnb has a specific page from its “Responsible Hosting” website for
   25 Santa Monica that provides information about Santa Monica’s laws and regulations.
   26 The page references “Santa Monica’s Home-Sharing Ordinance,” and provides a
   27 link to the City’s website for more information. It states that “it’s important for you
   28 to understand the laws in your city,” and that under the Ordinance, “Hosted rentals,”
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    1 where “at least one of the primary residents lives on site throughout the visitor’s
    2 stay,” are “allowed for 30 days or less.” It also states that “[t]he law requires a
    3 business license, taxes and compliance with other health and safety laws.” The page
    4 notes that “You may include your business license number on your listing” in the
    5 “‘License or registration number’ field” by “typ[ing] in your permit number
    6 following the acceptable permit format for Santa Monica. The format is: xxxxxx.
    7 An example would be: 123456.” The page further states that “Un-hosted
    8 rentals (Santa Monica calls vacation rentals) are prohibited unless they are 30 days
    9 and longer. If a primary resident is not living on site throughout the stay, Santa
   10 Monica’s law prohibits short-term rental.”
   11        13.     A true and correct copy of the Airbnb webpage entitled “Santa
   12 Monica, CA,” available at https://www.airbnb.com/help/article/908/santa-monica--
   13 ca, is attached hereto as Exhibit D.
   14        14.    As part of its Community Compact, Airbnb is committed to helping
   15 provide solutions tailored to the needs of cities. For example, Airbnb discretionarily
   16 removes listings from its website that Airbnb believes may be offered by hosts with
   17 multiple entire home listings or by unwelcome commercial operators. A true and
   18 correct copy of the Airbnb webpage describing its Community Compact is attached
   19 hereto as Exhibit E, available at https://www.airbnbaction.com/wp-
   20 content/uploads/2015/11/Airbnb-Community-Compact.pdf.
   21                             Homesharing in Santa Monica
   22        15.    At present, there are approximately 1,400 listings for rentals in Santa
   23 Monica on Airbnb’s marketplace. Among Airbnb hosts in Santa Monica, 82% have
   24 only one listing on the marketplace.
   25        16.    According to a report discussing Airbnb’s economic impact in
   26 neighboring Los Angeles (a true and correct copy of which is attached as Exhibit F),
   27 13% of Airbnb hosts in Los Angeles report that their income from hosting prevented
   28 them from losing their homes to foreclosure, and another 10% of hosts report that
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    1 their income from hosting saved them from eviction. At that rate, nearly 3,000 Los
    2 Angeles hosts have avoided foreclosure or eviction due to the supplemental income
    3 they make from hosting on Airbnb. The typical Los Angeles host earned an
    4 additional $7,200 per year from hosting on Airbnb. In addition, Airbnb generated
    5 more than $1.1 billion in economic activity in Los Angeles in 2016.
    6        17.    Airbnb has also collected and remitted more than $42 million in taxes
    7 to the City of Los Angeles over the past year alone, and stands to collect and remit
    8 $2 billion or more in taxes over the next decade to the 50 largest U.S. cities.
    9        18.    Airbnb listings provide an economical and convenient way for many
   10 travelers to experience the Santa Monica coast. Many of Airbnb’s listings are
   11 within Santa Monica’s “Coastal Zone,” which I understand “extend[s] inland
   12 generally 1,000 yards from the mean high tide line of the sea.” Cal. Pub. Res. Code
   13 § 30103(a). Over the past two years, approximately 30% of Airbnb listings within
   14 Santa Monica have been located in the Coastal Zone.
   15                                      The Ordinance
   16        19.    I understand that Ordinance No. 2535 (the “Ordinance”) imposes
   17 criminal and civil liability on hosting platforms for completing any “booking
   18 transaction” in connection with any third-party listing for a short-term rental on
   19 Airbnb’s platform located in the City of Santa Monica (the “City”) if that rental is
   20 not listed on the City’s registry. I understand that to comply with the Ordinance and
   21 be listed on the registry, all short-term rentals in the City must be “hosted” (where at
   22 least “one of the dwelling unit’s primary residents lives on-site” during the rental),
   23 must have a valid business license from the City of Santa Monica, and must comply
   24 with all other law applicable to short-term rentals, including all health, safety,
   25 building, fire protection, and rent control laws. I understand that a residential rental
   26 for 30 days or less that does not meet these requirements does not constitute lawful
   27 “Home-Sharing” under the Ordinance and instead is an unlawful “Vacation Rental.”
   28
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    1        20.     I understand that failure to comply with the Ordinance may result in
    2 hosting platforms facing civil penalties of up to $250 per violation and criminal
    3 penalties of up to $500 and/or up to six months imprisonment per violation, as well
    4 as administrative fines and penalties.
    5        21.     Compliance with the Ordinance would require Airbnb to do one of two
    6 things, either of which would cause significant harm to Airbnb.
    7        22.     First, Airbnb could monitor and screen listings to ensure that no
    8 booking transactions between hosts and guests occur for short-term rentals in Santa
    9 Monica that are not listed on the City’s registry. In theory, this could be done either
   10 prior to publishing each host’s listing, or after publication but prior to processing the
   11 payment and transaction for the listing. However, this latter option is not viable
   12 from a business standpoint. The Airbnb website would be highly confusing if it
   13 were populated by listings that guests could not actually book. In addition, hosts
   14 and guests greatly value being able to enter into transactions immediately upon
   15 locating each other and agreeing on reservation terms. This would no longer be
   16 possible if Airbnb had to screen listings prior to payment and transaction processing
   17 to ensure that the rental is listed on the City’s registry.
   18        23.     Thus, if Airbnb is to continue to process booking transactions for
   19 reservations in Santa Monica, Airbnb would have to monitor and screen listings
   20 prior to publication, and remove listings, to avoid the risk of the significant criminal
   21 and civil penalties discussed above. In order to monitor and screen listings, Airbnb
   22 would be forced to alter the functionality of its website in a way that would render it
   23 less desirable for users. A host seeking to create a listing would no longer be able to
   24 have it published immediately (because the listing would need to be screened),
   25 which would slow the process of creating a listing and make Airbnb’s marketplace
   26 less desirable to both hosts and guests.
   27        24.     This process would also cause a significant disruption to Airbnb’s
   28 operations and impose substantial personnel and other costs on Airbnb (particularly
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    1 if other cities replicated Santa Monica’s regulatory model and enacted similar
    2 requirements). This disruption would also injure the significant business goodwill
    3 that Airbnb has generated from the hosts and guests who have come to rely on its
    4 platform.
    5        25.     As noted above, there are at present approximately 1,400 Airbnb
    6 listings located in Santa Monica. In the normal course of business, hosts add new
    7 listings, change the status of listings, and deactivate listings continually.
    8 Accordingly, the burden to Airbnb of complying with the Ordinance’s requirements
    9 is not solely measured by the static number of listings at a single point in time, but
   10 would be an ongoing and expanding burden.
   11        26.     In the alternative, Airbnb could stop providing payment and transaction
   12 processing services altogether in connection with all third-party listings in Santa
   13 Monica. Airbnb currently provides booking, calendaring, and payment processing
   14 services in connection with all of the listings on its platform. In order to stop
   15 providing those services, Airbnb would have to undertake a fundamental redesign of
   16 its business model, website, and platform. Further, no longer providing those
   17 services would harm users. Hosts and guests greatly value using Airbnb’s services
   18 to facilitate payment and calendaring of rentals for listings published on Airbnb’s
   19 site. In the modern world of e-commerce, users simply expect that they will be able
   20 to enter into transactions online for goods and services advertised on platforms like
   21 Airbnb. They do not expect to view listings they are unable to book. Were Airbnb
   22 no longer able to offer these services with respect to certain listings, many hosts and
   23 guests likely would be confused and angered by the change and might even stop
   24 using Airbnb’s platform altogether.
   25              The City’s Past Enforcement Efforts and Airbnb’s Responses
   26        27.     Since the Ordinance was enacted, the City has sent Airbnb several
   27 letters regarding purported violations of the Ordinance with attached citations, and
   28 Airbnb has responded to those letters and citations. I have reviewed the letters and
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    1 citations from the City received by Airbnb, and Airbnb’s responses to those letters
    2 and citations.
    3         28.   Attached hereto as Exhibit G is a true and correct copy of a letter
    4 received by Airbnb from the Code Enforcement Division of the Santa Monica
    5 Planning and Community Development Department, dated September 22, 2015.
    6         29.   Attached hereto as Exhibit H is a true and correct copy of a letter
    7 Airbnb sent to Sharon Guidry, Code Enforcement Manager at the Planning and
    8 Community Development Department for the City of Santa Monica, on or about
    9 October 22, 2015, which included checks for the payment of the fines listed in the
   10 City’s September 22, 2015 letter.
   11         30.   Attached hereto as Exhibit I is a true and correct copy of a letter
   12 received by Airbnb from the Code Enforcement Division of the City of Santa
   13 Monica Planning and Community Development Department, dated October 29,
   14 2015.
   15         31.   Attached hereto as Exhibit J is a true and correct copy of a letter Airbnb
   16 sent to Sharon Guidry, Code Enforcement Manager at the Planning and Community
   17 Development Department for the City of Santa Monica, on or about November 25,
   18 2015, which included checks for the payment of the fines listed in the City’s
   19 October 29, 2015 letter.
   20         32.   Attached hereto as Exhibit K is a true and correct copy of a letter
   21 received by Airbnb from the Code Enforcement Division of the City of Santa
   22 Monica Planning and Community Development Department, dated December 16,
   23 2015, and attaching Citation Number 15CIT-709.
   24         33.   Attached hereto as Exhibit L is a true and correct copy of a letter
   25 received by Airbnb from the Code Enforcement Division of the City of Santa
   26 Monica Planning and Community Development Department, dated December 16,
   27 2015, and attaching Citation Number 15CIT-711.
   28
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